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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

MICHELLE MACDONALD,                                  )
                                                     )
         Plaintiff,                                  )
                                                     )
v.                                                   )       1:22-cv-00024-NT
                                                     )
BREWER SCHOOL DEPARTMENT, et al.,                    )
                                                     )
         Defendants                                  )

                      PLAINTIFF’S MOTION TO AMEND COMPLAINT

         Plaintiff, through counsel, hereby moves, pursuant to Federal Rule of Civil Procedure

15(a)(2), to amend her complaint and file Plaintiff’s First Amended Complaint, a copy of which

is attached. According to the Rule, this Court “should freely give leave when justice so requires.”

F.R.Civ.P. 15(a)(2). Here, the proposed amendment makes the following changes:

     •   Alters the caption and amends ¶ 26 such that only Gregg Palmer, Cheri Towle, Brent

         Slowikowski, and Renita Ward-Downer are sued in their official capacities.

     •   Adds ¶ 166 to read: Otherwise similarly-situated teachers at Brewer High School who did

         not engage in LGBTQ+ advocacy and were not associated with LGBTQ+ individuals did

         not experience similar harassment to MacDonald’s harassment and were not similarly

         accused by the school of being “unprofessional” or “confrontational.”

     •   Adds ¶ 167 to read: Pelletier did not engage in LGBTQ+ advocacy and was not

         associated with LGBTQ+ individuals as MacDonald did and was.
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   •   Amends former ¶ 173 (new ¶ 175) to include that the hostile work environment was also

       because MacDonald opposed a practice that would be a violation of Title VII and made a

       charge, testified or assisted in an investigation, proceeding, or hearing under the Title VII.

   •   Amends former ¶ 174 (new ¶ 176) to change “because of her sex” to “because of sex.”

   •   Deletes Wellman from “(j)” of the Prayer for Relief (MHRC civil penalty).

       WHEREFORE, Plaintiff requests that she be granted leave to file the attached First

Amended Complaint.

Dated: May 20, 2022                           /s/ John P. Gause
                                              ___________________________________
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                                              ATTORNEY FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2022, I electronically filed the foregoing Motion using

the CM/ECF system, which will send notification of such filing to Melissa Hewey, Esq., attorney

for Defendants.

Dated: May 20, 2022                           /s/ John P. Gause
                                              _________________________________________
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